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                                        UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF ARKANSAS
                                               EL DORADO DIVISION

Debtor SARAH LEE MARSHALL                                                               Case No. 1:24-bk-70660


                                                 Arkansas Chapter 13 Plan
                                                     (Local Form 13-1)


 Original Plan ☐         Amended Plan ☒           For an amended plan, all applicable provisions must be repeated
                                                  from the previous plan. Provisions may not be incorporated by
                                                  reference from previously filed plan.

                                                  List below the sections of the plan that have been changed:

                                                  3.1, 3.3, 5.1

                                                  State the reason for the amended plan, including any changes of
                                                  circumstances below. If creditors are to be added, please complete
                                                  Addendum A as well as file any appropriate amended schedules.

                                                  Mod to correct creditor address and increase adequate protection

                                                  The Amended Plan is filed: ☐ Before confirmation
                                                                             ☒ After confirmation

 Part 1: Notices
 To Debtor: This form sets out options that may be appropriate in some cases, but the presence of an option on
              the form does not indicate that the option is appropriate in your circumstances. Plans that do not
              comply with local rules and judicial rulings may not be confirmable.

              Original plans and amended plans must have matrix(ces) attached or a separate certificate of service should
              be filed to reflect service in compliance Fed. R. Bankr. P. 2002.

 To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You
             should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you
             do not have an attorney, you may wish to consult one. If you oppose the plan’s treatment of your claim or any
             provision of this plan, you or your attorney must file a written objection to confirmation with the United States
             Bankruptcy Court either electronically (if filer is approved for electronic filing) or at the following addresses:

                   For Eastern District cases (Batesville, Helena, Jonesboro, Little Rock, or Pine Bluff Divisions):
                    United States Bankruptcy Court, 300 West 2nd Street, Little Rock, AR 72201

                   For Western District cases (El Dorado, Fayetteville, Fort Smith, Harrison, Hot Springs, or Texarkana
                    Divisions):
                    United States Bankruptcy Court, 35 E. Mountain Street, Fayetteville, AR 72701

               The objection should be filed consistent with the following timelines:

                ☐ Original plan filed at the time the petition is filed: Within 14 days after the 341(a) meeting of
                  creditors is concluded.

                ☐ Original plan filed after the petition is filed: Within the later of 14 days after the 341(a) meeting of
                  creditors is concluded or 21 days after the filing of the plan.

                ☒ Amended plan: Within 21 days after the filing of the amended plan.
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             The court may confirm this plan without further notice if no objection to confirmation is timely filed.


 The following matters may be of particular importance. Debtor must check one box on each line to state whether
 or not the plan includes each of the following items. If an item is checked as “Not included” or if both boxes are
 checked, the provision will be ineffective if set out later in the plan.

       A limit on the amount of a secured claim, set out in Section 3.4,                                  ☒ Not
   1.1 which may result in a partial payment or no payment at all to the               ☐ Included
                                                                                                          included
       secured creditor.                                                                                  ☒ Not
   1.2 Nonstandard plan provisions, set out in Part 8.                                 ☐ Included
                                                                                                          included

 Part 2: Plan Payments and Length of Plan

  2.1 The debtor will make regular payments to the trustee as follows:
    Inapplicable portions below need not be completed or reproduced.
    Original plan: The debtor will pay $1000.00 per month to the trustee. The plan length is 60 months.

        The following provision will apply if completed:

            Plan payments will change to $_____ per month beginning on _____.

            Plan payments will change to $_____ per month beginning on _____.

   Amended plan: Plan payments will change to $_____ per month beginning on the later of the date of filing of the
   amended plan or _____. The plan length is _____ months.

        The following provision will apply if completed:

            Plan payments will change to $_____ per month beginning on _____.

   The debtor will pay all disposable income into the plan for not less than the required plan term, or the applicable
   commitment period, if applicable, unless unsecured creditors are being paid in full (100%). If fewer than 60 months of
   payments are specified, additional monthly payments will be made to the extent necessary to make the payments to
   creditors specified in this plan.

  2.2   Payments shall be made from future income in the following manner:
        Name of debtor Sarah L. Marshall
           ☒ Direct pay of entire plan payment or ______ (portion of payment) per month.
           ☐ Employer withholding of $_____ per month.
                   Name of debtor for withholding __________________
                   Payment frequency: ☐ monthly, ☐ semi-monthly, ☐ bi-weekly, ☐ weekly, ☐ other
                   If other, please specify: ___________________
                    Employer name:              _________________________
                    Address:                    _________________________
                                                _________________________
                    Phone:                      _________________________

  2.3 Income tax refunds.
    Check one.
       ☒ Debtor will retain income tax refunds received during the plan term and has allocated the refunds in the budget.
       ☐ Debtor will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of
       filing the return and will turn over to the trustee all income tax refunds received during the plan term.
       ☐ Debtor will treat income tax refunds as described below. The debtor will supply the trustee with a copy of each
       income tax return filed during the plan term within 14 days of filing.

  2.4 Additional payments.
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   Check one.
      ☒ None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
      ☐ To fund the plan, debtor will make additional payment to the trustee from other sources, as specified below.
      Describe the source, estimated amount, and date of each anticipated payment.

 Part 3: Treatment of Secured Claims
  3 . 1 Adequate Protection Payments.
        Check one.
        ☐ None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
        ☒ The debtor’ plan payment to the trustee will be allocated to pay adequate protection payments to secured
        creditors as indicated below. The trustee shall be authorized to disburse adequate protection payments upon the
        filing of an allowed claim by the creditor. Preconfirmation adequate protection payments will be made until the plan
        is confirmed. Postconfirmation adequate protection payments will be made until administrative fees are paid
        (including the initial attorney’s fee). Payment of adequate protection payments will be limited to funds available.
          Creditor and last 4
                                                                    Monthly
          digits of account              Collateral                                             To be paid
                                                                    payment amount
          number
          First State Bank of            2021 Hyundai Kona          $400.00                     ☒ Preconfirmation
          Warren, 4178                                                                          ☒ Postconfirmation

  3 . 2 Maintenance of payments and cure of default (long term-debts, including debts secured by real property
        that debtor intend to retain).
        Check one.
        ☒ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
        ☐ The debtor will maintain the current contractual installment payments on the secured claims listed below, including
        any changes required by the applicable contract and noticed in conformity with any applicable rules. These payments
        will be disbursed either by the trustee or directly by the debtor, as specified below. The debtor will resume payments
        to the creditors upon completion of the plan, pursuant to the terms of the respective agreements. Any existing
        arrearage will be paid in full through disbursements by the trustee, with interest, if any, at the rate stated.
        The current contractual installment payments for real estate may be increased or decreased, and the plan payment
        increased, if necessary, based upon information provided by the creditor and upon the absence of objection from
        the debtor under applicable rules. Unless otherwise ordered by the court, the amounts listed on a filed and allowed
        proof of claim will control over any contrary amounts listed below as to the current installment payment and arrearage
        amount. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then,
        unless otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and
        all secured claims based on that collateral will no longer be treated by the plan.
           Creditor and                                             Monthly                                        Interest
           last                                     Monthly         installment      Estimated      Monthly        rate,
           4 digits of          Collateral          installment payment              arrearage      arrearage      if any, for
           account                                  payment         disbursed        amount         payment        arrearage
           number                                                   by                                             payment
                                                                    ☐ Debtor                                       None
                                                                    ☒ Trustee

  3.3 Secured claims excluded from 11 U.S.C. § 506 (non-506 claims).
      Check one.
      ☐ None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
      ☒ Claims listed in this subsection consist of debts that were:
          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
          vehicle acquired for the personal use of the debtor (“910 car claims”), or
          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other
          thing of value (‘PMSI within one year”).
      The creditors below will retain their liens and secured claims will be paid in full under the plan at the monthly payment
      and interest at the rate stated below. Unless otherwise ordered by the court, the claim amounts listed on a filed and
      allowed proof of claim will control over any contrary amounts listed below, except as to value, interest rate and monthly
      payment.


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         Creditor and last                                         Debt/
                                                      Purchase                     Value of        Interest       Monthly
         4 digits of           Collateral                          estimated
                                                      date                         collateral      rate           payment
         account number                                            claim
         First State Bank      2021 Hyundai           09/2023      $16480.00       $20175.00       10.5%          $400.00
         of Warren, 4178       Kona

  3.4 Claims for which § 506 valuation is applicable. Request for valuation of security, payment of fully secured
      claims, and modification of undersecured claims.
      Check one.
      ☒ None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
      The remainder of this paragraph will be effective only if there is a check in the box “included” in § 1.1.
      ☐ The debtor request that the court determine the value of the collateral securing the claims as listed below. For
      each non-governmental secured claim listed below, the debtor state that the value of the collateral securing the claim
      should be as set out in the column headed Value of collateral. For secured claims of governmental units, unless
      otherwise ordered by the court, the value of the collateral securing the claim listed in a proof of claim filed in
      accordance with the Bankruptcy Rules controls over any contrary amount listed below.
      Secured claims will be paid the lesser of the amount of the claim or the value of the collateral with interest at the rate
      stated below. The portion of any allowed claim that exceeds the value will be treated as an unsecured claim under
      Part 5 of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed
      claim will be treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the
      court, the claim amounts listed on a filed and allowed proof of claim will control over any contrary amount listed below,
      except as to value, interest rate and monthly payment.
      The holder of any claim listed below as having value in the column headed Value of collateral will retain the lien on
      the property interest of the debtor or the estate until the earlier of: (a) payment of the underlying debt determined
      under nonbankruptcy law, or (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will
      terminate and be released by the creditor.
        Creditor and last 4                                   Debt/                                                 Estimated
                                                 Purchase                      Value of    Interest Monthly
        digits of account Collateral                          estimated                                             unsecured
                                                 date                          collateral rate         payment
        number                                                claim                                                 amount
                                                                                           9%


  3.5 Surrender of collateral.
      ☐ None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
      ☒ The debtor surrender to each creditor listed below the collateral that secures the creditor’s claim in accordance
      with 11 U.S.C. § 1325(a)(5)(C). The debtor request that upon confirmation of this plan, the stay under 11 U.S.C. §§
      362(a) and 1301(a) be terminated as to the collateral only. No further payments are to be made to the creditor for
      the secured claim. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part
      5 below. Unless otherwise ordered by the court, to the extent that the debtor become entitled to proceeds upon
      disposition of the collateral, the proceeds will be remitted to the trustee.
          Creditor and last 4 digits of account number           Collateral to be surrendered
         GM Financial, 4118                                      2024 Chevrolet Malibu


  3.6 Secured claims not provided treatment. In the event that a secured claim is filed and allowed that is not provided
      treatment in the plan, the trustee shall pay such creditor the claim amount without interest after this plan in all other
      respects has been completed.

 Part 4: Treatment of Fees and Priority Claims
  4.1 General.
       Trustee’s fees and all allowed priority claims, including domestic support obligations, will be paid in full without
       postpetition interest.

  4.2 Trustee’s fees.
      The trustee’s fees are governed by statute and may change during the course of the case.

  4.3 Attorney’s fees.

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       The attorney’s fee is subject to approval of the court by separate application. The following has been paid or will be
       paid if approved by the court:
            Amount paid to attorney prior to filing: $0.00
            Amount to be paid by the trustee:         $4300.00
            Total fee requested:                       $4300.00
      Upon confirmation, the attorney shall receive an initial fee as provided in the application and approved by the court
      from funds paid by the debtor, after administrative costs have been paid. The remaining fee will be paid at the
      percentage rate of the total disbursed to creditors each month provided in the application approved by the court.
            The initial fee and percentage rate requested in the application are $1500.00 and 25%, respectively.

  4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
      Filed and allowed priority claims (usually tax claims), including without limitation, the following listed below, will be
      paid in full in accordance with 11 U.S.C. § 1322(a)(2), unless otherwise indicated. For claims filed by governmental
      units, the categorization of the claim by the creditor (secured, priority, nonpriority unsecured) and amounts shall
      control over any contrary amounts unless otherwise ordered by the court.
                                             Nature of claim (if taxes, specify type and Estimated                     claim
         Creditor
                                             years)                                                  amount



  4.5 Domestic support obligations.
      Check one.
      ☒ None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
      The name and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§
      101(14A) and 1302(b)(6). ***If joint debtors, indicate which debtor has a domestic support obligation.***
         Name and address of holder             Paid to                                 Name of debtor obligated
                                               ☐ Holder
                                               ☐ Governmental unit, below
       The following domestic support obligation claims are assigned to, owed to, or recoverable by a governmental unit.
         Name and address of the               Holder of the                          Name of debtor obligated
         governmental unit                     domestic support obligation


       Continuing domestic support obligation payment.
       ☐ The regular monthly support payment shall be paid by the debtor directly and is included on Schedules I or J.
       ☐ The regular domestic support obligation monthly payment shall be paid by the trustee as a continuing debt.
       Domestic support obligation arrearage payment.
       ☐ The domestic support obligation arrearage claim will be paid by the trustee as listed below. Unless otherwise
       ordered by the court, the arrearage claim amount listed on the filed and allowed proof of claim will control over the
       total estimated arrearage amount listed below.
            Name and address of creditor                                       Total estimated         Monthly
                                                                                arrearage                    arrearage
                                                                                    amount             payment



 Part 5: Treatment of Nonpriority Unsecured Claims
  5.1 Nonpriority unsecured claims.
       Allowed nonpriority unsecured claims shall be paid at least as much as they would receive if the debtor filed a
       Chapter 7 case. Allowed nonpriority unsecured claims shall be paid in full (100%) unless a different treatment
       is indicated below. For above median income debtor, the distribution to unsecured creditors includes any
       disposable income pool (monthly disposable income times 60 months) from Form 122C-2, unless the debtor are
       unable to meet the disposable income pool based on the following circumstances:
       Check one, if applicable.
       ☐ A PRORATA dividend, including disposable income pool amounts, if applicable, from funds remaining after
       payment of all other classes of claims; or
       ☒ Other. Please specify: 100%

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  5.2 Special nonpriority unsecured claims and other separately classified nonpriority unsecured claims.
      Check one.
      ☒ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
      ☐ The unsecured claims designated below will be paid prior to payment of other nonpriority unsecured claims. The
      reason the claims are treated as “special” is stated below. These claims will be paid in full based on the filed and
      allowed proof of claim except as to monthly payment and interest rate, if any.
                                                                     Interest      rate  (if Reason                   for
         Creditor and last 4 digits of                    Monthly
                                         Debt amount                 blank, no interest to classification              as
         account number                                   payment
                                                                     be paid)                  special



  5.3 Maintenance of payments and cure of any default on nonpriority unsecured claims.
      Check one.
      ☒ None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.
      ☐ The monthly installment payments will be paid on the following nonpriority unsecured claims for which the last payment
      is due after the final plan payment and any default in payments is cured. The payments will be disbursed by the trustee
      during the plan term. These claims will be paid in full based on the filed and allowed proof of claim except as to
      monthly payment and interest rate, if any. The debtor will resume the monthly installment payments at the conclusion
      of the case.
                                                                         Interest     rate    (if Reason                  for
         Creditor and last 4 digits of                      Monthly
                                           Debt amount                   blank, no interest to classification as long
         account number                                     payment
                                                                         be paid)                  term



 Part 6: Contracts, Leases, Sales and Postpetition Claims

  6.1 Executory Contracts and Unexpired Leases.
      Check one.
      ☒ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
      The executory contracts and unexpired leases listed below are assumed or rejected as indicated.
      ☐ Assumed items. The following executory contracts and unexpired leases are assumed, and payments due after
      the filing of the case will be paid directly by debtor, or by the trustee, as set forth below. Debtor propose to cure any
      default by paying the arrearage on the assumed leases or contracts in the amount listed on the filed and allowed
      proof of claim, if contrary to the amount listed below.
                              Description of                                         Number of                    Monthly
                                                      Payment to Payment                            Arrearage
         Creditor             contract or                                            remaining                    arrearage
                                                      be paid by amount                             amount
                              property                                               payments                     payment
                                                      ☒ Debtor
                                                      ☐ Trustee
      ☐ Rejected items. The debtor reject the following executory contracts or unexpired leases. The debtor request
      that upon confirmation of this plan, the stay under 11 U.S.C. §§ 362(a) and 1301(a) be terminated as to the property
      only. No further payments are to be made to the creditor on the contract or lease. However, the creditor may file a
      claim for the deficiency and will be treated as a nonpriority unsecured creditor.
         Creditor and last 4 digits of account number                Description of contract or property




  6.2 Sale of assets.
      Check one.
      ☒ None. If “None” is checked, the rest of § 6.2 need not be completed or reproduced.
      ☐ The debtor propose to sell the described real or personal property after notice and court approval on the following
      terms and will commit the proceeds as indicated. The debtor also make the provisions listed below if the sale of the
      property does not ultimately occur.

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                                                                                       Provision for proceeds and if
         Creditor               Property to be sold            Terms of sale
                                                                                       property does not sell



  6.3 Claims not to be paid by the trustee.
      Check one.
      ☒ None. If “None” is checked, the rest of § 6.3 need not be completed or reproduced.
      ☐ The following claims are to be paid directly to the creditor by the debtor and not by the trustee. These claims
      include home mortgage, lease payments, and debts actually being paid by a party other than the debtor (who is
      liable for the debt) from property that is not property of the estate.
                                                                             Description of property/nature of
         Creditor                           Payment to be paid by
                                                                             obligation
                                            ☐ Debtor
                                            ☐ Other

  6.4 Postpetition claims.
      Check one.
      ☐ None. If “None” is checked, the rest of § 6.4 need not be completed or reproduced.
      ☒ Postpetition claims pursuant to 11 U.S.C. §§ 1305 and 1322(b)(6) may be added to the plan by the debtor and, if
      the creditor elects to file a proof of claim with respect to the postpetition claim, the claim may be treated as though
      the claims arose before the commencement of the case, to be paid in full or in part through the plan. Upon completion
      of the case, any unpaid balance of such claim may be subject to discharge.

 Part 7: Vesting of Property of the Estate
  7.1 Property of the estate will vest in the debtor upon:
       Check the applicable box.
       ☐ plan confirmation.
       ☒ entry of discharge.
       ☐ other:

 Part 8: Nonstandard Plan Provisions
       ☒ None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
       Under Bankruptcy Rule 3015.1(c), nonstandard provisions must be set forth below. A nonstandard provision
       is a provision not otherwise included in the Official Form or deviating from it. Nonstandard provisions set
       out elsewhere in this plan are ineffective.
  8.1 The following plan provisions will be effective only if there is a check in the box “included” in § 1.2.


 Part 9: Signatures
       By filing this document, the attorney for the debtor or the debtor themselves, if not represented by an
       attorney, certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
       those contained in plan form used in the Eastern and Western Districts of Arkansas, other than any
       nonstandard provisions included in Part 8.

              /s/Matthew D. Black                                     Date July 26, 2024
              MATTHEW D. BLACK, BAR #2007-259
              CURTIS A. SHEPHERD, BAR #2023-250
              JACK W. DICKERSON, BAR #91001
              Attorney for Debtor




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                                                CERTIFICATE OF SERVICE

    The undersigned hereby certifies that a true and correct copy of the attached Chapter 13 plan has been served by
    CM/ECF to the Chapter 13 Standing Trustee assigned to this case; Patricia J. Stanley, Assistant United States Trustee;
    and served by U.S. Mail, postage prepaid to the following on July 26, 2024:

     Department of Finance and Administration                  Internal Revenue Service
     Legal Division                                            Special Procedure
     PO Box 1272                                               PO Box 7346
     Little Rock, AR 72203                                     Philadelphia, PA 19101
     U.S. Attorney (Eastern District)                          U.S. Attorney (Western District)
     PO Box 1229                                               414 Parker Avenue
     Little Rock, AR 72203                                     Fort Smith, AR 72901
     Arkansas Department of Workforce Services
     Legal Division
     PO Box 8040
     Little Rock, AR 72203

    And to all creditors whose names and addresses are set forth on attached matrix(ces).


                                                              Respectfully Submitted
                                                              Dickerson Law Firm, P.A.
                                                              PO Box 6400
                                                              Hot Springs, AR 71902
                                                              Telephone: (501) 321-0808
                                                              Fax: (501) 321-2954

                                                              By:/s/Matthew D. Black
                                                              MATTHEW D. BLACK, BAR #2007-259
                                                              CURTIS A. SHEPHERD, BAR #2023-250
                                                              JACK W. DICKERSON, BAR #91001




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